     Case 4:16-cv-01414 Document 670 Filed on 10/21/19 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                               §
MARANDA LYNN O’DONNELL, et al,                 §
                                               §
               Plaintiffs,                     §
                                               §
v.                                             §           No. 4:16-cv-01414
                                               §
HARRIS COUNTY, TEXAS, et al.,                  §
                                               §
               Defendants.                     §
                                               §

                 PROFESSIONAL BONDSMEN OF HARRIS COUNTY’S
                      STATEMENT OF INTENT TO APPEAR

       Pursuant to the court’s Oct 14th order [Doc. 662], The Professional Bondsmen of Harris

County, Amicus Curiae, desires to speak at the fairness hearing on Oct 28th. Undersigned counsel

will be the designated speaker.

                                                   Respectfully submitted,


                                                          /s/ Kevin Pennell
                                                   Kevin Pennell
                                                   Texas Bar No. 24046607
                                                   Fed. ID. No. 583414
                                                   kevin@pennellfirm.com
                                                   PENNELL LAW FIRM PLLC
                                                   19 Briar Hollow Lane, Suite 110
                                                   Houston, Texas 77027
                                                   Telephone: (713) 965-7568
                                                   Facsimile: (713) 583-9455

                                                   COUNSEL FOR AMICUS CURIAE
                                                   THE PROFESSIONAL BONDSMEN OF
                                                   HARRIS COUNTY

                                                                                     1|Page
     Case 4:16-cv-01414 Document 670 Filed on 10/21/19 in TXSD Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of October 2019, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the Southern District of Texas,

using the electronic case filing system of the Court. The electronic case filing system sent a “Notice

of Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice

as service of this document by electronic means.



                                                      /s/ Kevin Pennell




                                                                                           2|Page
